        Case 17-16340-elf      Doc 11 Filed 11/20/17 Entered 11/20/17 17:40:11               Desc Main
                                       Document Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       JOSEPH R FOGARTY SR                                  Chapter 13



                              Debtor                Bankruptcy No. 17-16340-ELF

                               OBJECTION OF CHAPTER 13 TRUSTEE
                             TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

Debtor(s) has/have failed to provide evidence of insurance coverage on real property owned by such debtor(s) as
directed at the meeting of creditors held under 11 U.S.C. Section 341(a).
Debtor(s) has/have failed to notify his/her personal injury attorney of the bankruptcy and/or include appropriate
language in the Plan regarding the proceeds of such litigation.
Debtor(s) has/have failed to file amended schedules as directed at the meeting of creditors held under 11 U.S.C.
Section 341(a).

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                    Respectfully submitted,

                                                      /s/ William C. Miller
                                                    William C. Miller, Esquire
                                                    Chapter 13 Standing Trustee
